          11-15842-mg       Doc 96     Filed 04/15/13 Entered 04/15/13 15:30:04                 Notice of
                                       Possible Dividends Pg 1 of 1
                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF NEW YORK
                                             One Bowling Green
                                          New York, NY 10004−1408


IN RE: Lui J Kim                                         CASE NO.: 11−15842−mg

Social Security/Taxpayer ID/Employer ID/Other Nos.:      CHAPTER: 7
xxx−xx−0800
                                                         TRUSTEE:

                                                         Robert L. Geltzer
                                                         The Law Offices of Robert L. Geltzer
                                                         1556 Third Avenue
                                                         Suite 505
                                                         New York, NY 10128

                                                         Telephone: (212) 410−0100




                        NOTICE OF POSSIBLE PAYMENT OF DIVIDENDS
                            AND OF LAST DATE TO FILE CLAIMS



        To the creditors of the above named debtor:

        As a result of the administration of the debtor's estate, a dividend to creditors now appears possible.
        You are hereby advised of the opportunity to file a claim in order to share in any distribution.
        A creditor must file a PROOF OF CLAIM whether or not the debt is included in the list of creditors filed by
        the debtor.
        The PROOF OF CLAIM must be filed on or before July 15, 2013 .
        Please take further notice that if you have a PROOF OF CLAIM on file or one has been filed on your behalf,
        do not file again.
        All PROOFS OF CLAIM for the above named debtor, are to be filed with the court at the above address.
        A Proof of Claim form has not been included with this notice. Proof of Claim forms are available online at
        www.uscourts.gov and on the court's website, www.nysb.uscourts.gov.




Dated: April 15, 2013                                    Vito Genna
                                                         Clerk of the Court
